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 1
                                    IN THE UNITED STATES DISTRICT COURT
 2                                        FOR THE DISTRICT NEVADA
 3   CUNG LE, NATHAN QUARRY, JON FITCH,
     BRANDON VERA, LUIS JAVIER                              Case No. 2:15-cv-01045-RFB-BNW
 4
     VAZQUEZ, and KYLE KINGSBURY, On
 5   Behalf of Themselves and All Others Similarly
     Situated,
 6
                      Plaintiffs,
 7

 8          v.

 9   ZUFFA, LLC, D/B/A ULTIMATE FIGHTING
     CHAMPIONSHIP and UFC,
10
                      Defendant.
11
     KAJAN JOHNSON and CLARENCE
12
     DOLLAWAY, On Behalf of Themselves and All Case No. 2:21-cv-01189-RFB-BNW
13   Others Similarly Situated,

14                    Plaintiffs,
15          vs.
16
     ZUFFA, LLC, TKO OPERATING COMPANY,
17   LLC F/K/A ZUFFA PARENT LLC (D/B/A
     ULTIMATE FIGHTING CHAMPIONSHIP and
18   UFC), and ENDEAVOR GROUP HOLDINGS,
     INC.,
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20
                      Defendants.
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23     MOTION FOR PRELIMINARY APPROVAL OF THE SETTLEMENT IN BOTH ABOVE-
24       CAPTIONED MATTERS, PROVISIONAL CERTIFICATION OF THE PROPOSED
        JOHNSON SETTLEMENT CLASS, PRELIMINARY APPROVAL OF THE PLAN OF
25         ALLOCATION, APPROVAL OF THE NOTICE PLAN, AND APPROVAL OF
        THE PROPOSED SCHEDULE FOR COMPLETING THE SETTLEMENT PROCESS
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                   MOTION FOR PRELIMINARY APPROVAL OF THE SETTLEMENT IN BOTH ABOVE-CAPTIONED MATTERS,
                 PROVISIONAL CERTIFICATION OF THE PROPOSED JOHNSON SETTLEMENT CLASS, PRELIMINARY APPROVAL
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 1          Plaintiffs in two class actions, Le, et al. v. Zuffa, LLC d/b/a Ultimate Fighting Championship

 2   and UFC, Case No. 2:15-cv-01045 (D. Nev.) (the “Le Action”), and Johnson, et al. v. Zuffa, LLC, et

 3   al., No. 2:21-cv-1189 (D. Nev.) (the “Johnson Action”) (collectively, the “Actions”), on behalf of

 4   themselves and the proposed Settlement Classes (the Le Class and the Johnson Settlement Class, as

 5   discussed below), hereby move for an order pursuant to Rule 23 of the Federal Rules of Civil

 6   Procedure:

 7          1.        Granting preliminary approval under Fed. R. Civ. P. 23(c)(2) and 23(e) of the settlement

 8   (“Settlement”) between the parties in the Le Action and the Johnson Action. Plaintiffs Cung Le, Nathan

 9   Quarry, Jon Fitch, Brandon Vera, Luis Javier Vazquez, and Kyle Kingsbury brought the Le Action

10   against one defendant, Zuffa, LLC. On August 9, 2023, the Court certified the Le Class (see below) and

11   appointed all the plaintiffs in the Le Action, other than Nathan Quarry, as the class representatives (the

12   “Le Class Representatives”). See ECF No. 839, at 78-79. 1 Plaintiffs Kajan Johnson, Clarence
13   Dollaway, and Tristan Connelly (the proposed “Johnson Settlement Class Representatives”) brought

14   the Johnson Action against three defendants, Zuffa, LLC, TKO Operating Company, LLC, and

15   Endeavor Group Holdings, Inc. The Le Class Representatives and the Johnson Settlement Class

16   Representatives are collectively referred to as “Plaintiffs,” and the defendants in both Actions will be

17   referred to collectively as “Defendants.” The terms and conditions of the Settlement, which include the

18   release and dismissal with prejudice of the Plaintiffs’ claims against the Defendants, are set forth in the

19   parties’ April 24, 2024 Settlement Agreement (the “Settlement Agreement”), which is attached as

20   Exhibit 1 to the accompanying joint declaration of Co-Lead Class Counsel (referred to as the “Joint
21   Decl.”).
22          2.        Granting Plaintiffs’ request to coordinate the Le Action and the Johnson Action for
23   settlement purposes only.
24          3.        Reaffirming the Court’s finding that the requirements of Fed. R. Civ. P. 23(a) and
25   23(b)(3) are satisfied for the Le Class, see ECF No. 839, at 79 (defining the Bout Class), including for
26   settlement and judgment purposes. The Le Class includes all persons who competed in one or more live
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     1
28     Plaintiff Nathan Quarry was proffered as a class representative for the “Identity Rights Class,” which
     the Court did not certify. See generally ECF No. 839 at 75-78.                                         1
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 1   professional UFC-promoted MMA bouts taking place or broadcast in the United States from December

 2   16, 2010 to June 30, 2017 (the “Le Class Period”). Id. Excluded from the Le Class are all persons who

 3   are not residents or citizens of the United States unless the UFC paid such persons for competing in a

 4   bout fought in the United States. Id.

 5          4.        Finding that the Court will likely determine that the requirements of Fed. R. Civ. P.

 6   23(a) and 23(b)(3) will be satisfied for settlement and judgment purposes only, and thus provisionally

 7   certifying the Johnson Settlement Class. The Settlement Agreement defines the Johnson Settlement

 8   Class to include all persons who competed in one or more live professional UFC-promoted MMA bouts

 9   taking place or broadcast in the United States from July 1, 2017 to the date of preliminary approval of

10   the Settlement (the “Johnson Settlement Class Period”). Settlement Agreement ¶1(n). Excluded from

11   the Johnson Settlement Class are all persons who are not residents or citizens of the United States

12   unless the UFC paid such persons for competing in a bout fought or broadcast in the United States. Id.

13          5.        Appointing Plaintiffs Kajan Johnson, Clarence Dollaway, and Tristan Connelly as the

14   representative Plaintiffs for the Johnson Settlement Class (the “Johnson Settlement Class

15   Representatives”).

16          6.        Appointing Berger Montague PC, Cohen Milstein Sellers & Toll PLLC, and Joseph

17   Saveri Law Firm, LLP as Co-Lead Class Counsel for the Settlement Classes and Kemp Jones, LLP,

18   Warner Angle Hallam Jackson & Formanek PLC, and Clark Hill PLC as additional Settlement Class

19   Counsel for the Johnson Settlement Class under Fed R. Civ. P. 23(g).

20          7.        Approving the Notice Plan articulated in the accompanying Declaration of Steven

21   Weisbrot, Esq. of Angeion Group LLC re the Settlement Notice Plan (the “Weisbrot Settlement

22   Decl.”), attached as Exhibit 5 to the Joint Decl., and authorizing dissemination of notice to the

23   Settlement Classes.

24          8.        Preliminarily approving the Plan of Allocation, attached as Exhibit 3 to the Joint Decl.

25          9.        Appointing Angeion Group (“Angeion”) as the Claims Administrator for the Settlement

26   Classes. (The Court previously appointed Angeion as the notice administrator for the Le Class, see ECF

27   No. 921, ¶1.)

28          10.       Appointing The Huntington National Bank as Escrow Agent.
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 1           11.     Approving the Custodian/Escrow Agreement, dated April 23, 2024 (the “Escrow

 2   Agreement”), attached as Exhibit A to the Settlement Agreement (which itself is attached as Exhibit 1

 3   to the Joint Decl.).

 4           12.     Approving the establishment of the UFC Settlement Fund under the Settlement

 5   Agreement as a qualified settlement fund (“QSF”) pursuant to Internal Revenue Code Section 468B

 6   and the Treasury Regulations promulgated thereunder.

 7           13.     Staying litigation activity against the Defendants on behalf of the Settlement Classes

 8   pending final approval or termination of the Settlement.

 9           14.     Approving the proposed schedule for the Settlement, including setting a date for a final

10   Fairness Hearing.

11           WHEREFORE, for the reasons set forth in the accompanying memorandum of law, supporting

12   Joint Decl., the Weisbrot Settlement Decl., and all exhibits filed in support of this Motion, Plaintiffs

13   respectfully request that the Court grant this motion and enter the Preliminary Approval Order filed

14   herewith. The Defendants do not oppose this motion.

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 1   Dated: May 21, 2024                              Respectfully submitted,

 2                                                    /s/ Eric L. Cramer
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12                                                Kajan Johnson, Clarence Dollaway, and
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                                                  Vera, Luis Javier Vazquez, Kyle Kingsbury,
22                                                Kajan Johnson, Clarence Dollaway, and
                                                  Tristan Connelly
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13                                                Plaintiffs Cung Le, Nathan Quarry, Jon Fitch,
                                                  Brandon Vera, Luis Javier Vazquez, Kyle
14                                                Kingsbury, Kajan Johnson, Clarence
15                                                Dollaway, and Tristan Connelly

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 1                                      CERTIFICATE OF SERVICE

 2          I hereby certify that on this 21st day of May, 2024, a true and correct copy of Plaintiffs’ Motion

 3   for Preliminary Approval of the Settlement in Both Above-Captions Matters, Provisional Certification

 4   of the Proposed Johnson Settlement Class, Preliminary Approval of the Plan of Allocation, Approval of

 5   the Notice Plan, and Approval of the Proposed Schedule for Completing the Settlement Process and

 6   supporting papers and exhibits were served via the U.S. District Court of Nevada’s ECF System to all

 7   counsel of record who have enrolled in the ECF System.

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 9                                                                /s/ Eric L. Cramer
                                                                  Eric L. Cramer
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